EXHIBIT 14
      COUNT Il - REFORMATION OF MORTGAGE

               1-3     Plamtiff realleges paragraphs 1-3 of Count I and mcorporates same herem by reference

               4       That plamtiff and defendant-borrower entered mto a mortgage contract dated 1/26/2006
                       wtuch was recorded on 02/22/2006 as document number 0605346110 affectmg the property
                       commonly known as 407 Beach Avenue, LaGrange Park, IL 60526

               5       That due to a scnvener's error, the mortgage contained an incorrect legal descnpt1on

               6        That the correct legal descnptton for the property 1s attached as Exh1b1t C herein

               7        That 1t was plamtlff and defendant-borrower's intent to create a vahd mortgage contract
                        contammg the correct legal descnpnon as referenced herem

               WHEREFORE, plamtlff prays as follows

               1        That this court enter an order refonrung the mortgage wlu           e subJect matter of this
                        action to correct the legal descnpt10n

               2        For such other and further rehef as this court deems J




       FREEDMAN ANSELMO LINDBERG & RAPPE LLC
       1807 W Diehl Rd Ste 333
       Napcrv1llc IL 60S66 7228
       630 983 0770 866 402 8661
       630-428-4620 (fax)
       Attorney No Cook 26122 DuPage 42005 Kane 031 26104
       Peona 1794 Winnebago 3802 IL 03126232
       Steven Lindberg 3126232 Louis Freedman 3126104 Thomas Anselmo 3125949
       Roben Rappe 6201817 Doug Ohver 6273607 Barbara Nilsen 6287524
       Clay R Mosbcrg 1972316 Vincent A Chavama 6291469




CONFIDENTIAL                                                                                  WF_GARCIA_00003101
                                                       PRAYER

               WHEREFORE, the Pia.muff, prays as follows

                      1      For foreclosure of such Mortgage,

                      2      An Order grantmg a shortened redemption penod, 1f authonzed by law,

                      3      For a personal def1c1ency Judgment agamst Eduardo Garcia-Munoz only, 1f sought

                      4       A Judgment for attorneys' fees, costs and expenses,

                      5       Such other rehef as equity may require

                                       ADDITIONAL REQUEST FOR RELIEF

               Plamtlff also requests that the Judgment for foreclosure or other orders entered herem provide for
      the followmg 735 ILCS 5/15-1506(t)

               1      A sale by pubhc auction

               2      A sale by open bid

               3      A Judge of tlus Court or Shenff of the County, Intercounty Juchc1al Sales or The Judicial
                      Sales Corporation, shall conduct the sale

               4      Title m the real estate may be subject, at the sale, to excepttons mcludmg general real estate
                      taxes for the current year and for the precedmg year which have not become due and payable        1

                      as of the date of entry of the Judgment of Foreclosure, any special assessments upon the real     1


                      estate, and easements and restncttons of record

               5      In the event a party to the foreclosure 1s a successful bidder at the sale, such party shall be
                       allowed to offset agamst the purchase pnce to be paid for such real estate amounts due such
                       party under the Judgment of Foreclosure or Order conftnrung the sale


                                                                                                     R250




CONFIDENTIAL                                                                                  WF_GARCIA_00003102
           E       Date and place of recording of Mortgage February 22, 2006 m the office of the Recorder
                   of Deeds or Registrar of Titles

           F       Ident1ficat1on of recording 0605346110

           G       Estate Conveyed Fee Simple

           H       Amount of Ongmal Indebtedness, mcludmg subsequent advances made under the mortgage
                        $223,000 00

           I       Legal Descnpt1on and common address of Mortgaged Pretruses

                   (1)    Legal Descnptton SEE ATIACHED

                   (2)    Common Address 407 Beach Avenue, LaGrange Park, IL 60526

                   (3)    PIN     15-33~416-007-0000

           J       Statement as to mortgage loan default

                          Unpaid Pnnc1pal                                              $218,440 53
                          Total Balance Due                                            $231,923 69
                          Date of Calculation December 31, 2008
                          Loan due for September 1, 2008 and a default occurred 30 days thereafter

           K       Name of present owners of said prem1ses Eduardo Garcia-Munoz

               L    Names of other persons who are JOtned as Defendants and whose interest m or hen on the
                    mortgage real estate 1s sought to be tennmated

                    1)     Eduardo Garcia-Munoz, as owner(s) of the real estate foreclosed herem,

                    2)     Eduardo Garcia-Munoz, as mortgagor(s) of the real estate foreclosed herem,

                    3)     Unknown Owners and Non-Record Claimants

               M    Names of persons claimed to be personally hable for deficiency Eduardo Garcia-Munoz

               N    Capacity m whlch Plaintiff bnngs this sutt As "mortgagee" as that tenn 1s defined at 735
                    ILCS 5/15-1208

               0    Facts m support of request for attorneys' fees and of costs and expenses, tf appltcable
                    Pla.mttff has been reqwred to retam counsel for prosecunon of tlus foreclosure and to mcur
                    substantial attorneys' fees, court costs, ntle msurance and other expenses which should be
                    added to the balance secured by said mortgage

               P    Plamttff seeks to tenrunate the nght to possess the mortgaged real estate after confinnatton
                    of a foreclosure sale against all defendants who have the nght to possess the property




CONFIDENTIAL                                                                              WF_GARCIA_00003103
                                    IN THE CIRCIDT COURT OF COOK COUNTY
                                            COOK COUNTY, ILLINOIS

       W08120202                                             ]
       Deutsche Bank National Trust Company, as Trustee      ]
       for Morgan Stanley 00S Real Estate Capital Trust,     ]
       2006-1                                                 ]
                                                              ]
               Plaintiff,                                     ]
                                                              ]
       vs                                                     ]
                                                              ]
       Eduardo Garcia-Munoz,                                  ]
       Juba E Escamda,                                        ]
       Unknown Owners and Non-Record Clannants                ]
               Defendants                                     ]
                                                              ]
                                                              ]
                                                              ]                             -t                -
                                                              ]                     j      --
                                                                                                            ""f~ i l~ 11
                                                                                                                           -
                                                                                     .NJ    ,.i   I
                                                              ]                     l ~1.lllU         ,   ,r. Sr Ill 398
                                                                                    t) ~ 07-1              ,or                                       t 1 "'    \i

                                   COMPLAINT TO FORECLOSE MORTGAGE :r
                                                                                                                                                          -i     •
                                                                                                            ~rt-                                          J


                                         735 ILCS 5/15-1504(a)(l) through (3))      111:cv,: ~~~O" inn                                               ~I   •J (~

                                                                                        Ju~                 r -
             NOW COMES the Plamt.tff, Deutsche Bank Nat10nal Trust Company, as..'f~ti_e fof Morgan Stanley :.. '
      IXIS Real Estate Capital Trust, 2006-1, by aad through its attorney, FREEDMAN,A1\lSEfMO
                                                                                     I <.I
                                                                                              l.INDBERG
      & RAPPE, LLC and complains of the above Defendants as follows                                    : 1 "'J ,,,
                                                                                                                               lll<'iNr, Hlll
      1      Plamtiff flies this Compl amt to Foreclose the Mortgage heremafter descnbed andJOms the following
             persons as Defendants

               A       Eduardo Garcia-Munoz, Juha E Escanula,

             B         Plamttff avers that m add1t10n to persons designated by name herein, and the unlmown
                       defendants herembefore referred to there are other persons who are mterested m this action
                       and who have or clrum some nght, t:Jtle, mterest or lien m, to or upon the real estate sought
                       to be foreclosed m this Complrunt, that the name of each of such other person or persons IS
                       unknown to Plamttff, and on dthgent mqmry cannot be ascertamed, and all such persons are
                       hereby made partles Defendants to this proceeding by the name and descnption of
                       UNKNOWN OWNERS and NON-RECORD CLAilv1ANTS

      2        That attached hereto as Exh1b1t "A" and incorporated herein 1s a true    c4py
                                                                                           of srud W9rtgage That
               attached hereto as Exh1b1t B" and incorporated herem 1s a
                                         11
                                                                         true copy   of the Note sdiilred thereby
                                                                                                             ~


                                                                                                                                           r
                                                                                             "') -:..J '-C:)
                                                                                                                  c_                            •,
                                                                              11
                                                                                                           r- .-
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                                                                                                          =--··:; ~.:              \:,..
      3        Infonnauon concerning said Mortgage attached as Exh1b1t "A                    1


                                                                                                             -c -                 GO       ~•ry
               A       Nature of the Instrument Mortgage                                                                          v        -7
                                                                                                                                           L_
                                                                                                          -r -- -,                3:
               B       Date of the Mortgage January 26, 2006                                                - - .,
                                                                                                             .                    N
                                                                                                                                            l
                                                                                                               ,._,   )
                                                                                                                                           !\)
                                                                                                                   ...l:         "->
                                                                                                                                 CJl
               C       Name of the Mortgagors Eduardo Garcia-Munoz

               D       1)      Name of the Mortgagee       Deutsche Bank National Trust Company, as Trustee for
                               Morgan  Stanley IXIS Real Estate Capital Trust, 2006-1
                       2)      Current Loan Servicer       Amenca's   Serv1cmg Company




CONFIDENTIAL                                                                                                     WF_GARCIA_00003104
